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 6
                               UNITED STATES DISTRICT COURT
 7
                              EASTERN DISTRICT OF WASHINGTON
 8
 9     UNITED STATES OF AMERICA,                )
                                                )     CR-11-107-WFN-7
10                      Plaintiff,              )
                                                )
11     v.                                       )     UNOPPOSED ORDER GRANTING
                                                )     MOTIONS (ECF No. 728 and
12     ISRAEL BENJAMIN WRIGHT,                  )     757)
                                                )
13                      Defendant.              )
                                                )
14
            Before the Court is Defendant Israel Wright’s Motion to Amend
15    Release Conditions (ECF No. 728) and Motion to Shorten Time (ECF No.
16    757).

17         The United States Attorney office, Pre-Trial Services office
18    and all other parties are in agreement to the proposed amending
      conditions of release.
19
20          IT IS ORDERED that:

21             1.   Defendant’s Motion to Shorten Time (ECF No. 757) is
               GRANTED.
22
23             2. Defendant’s Motion to Amend Conditions of Release (ECF
24             728) is GRANTED as to Condition 29 of the Order Setting
               Conditions of Release.    The conditions of release are
25
               hereby modified to remove the Defendant Israel Wright from
26             home confinement/electronic home monitoring.
27
               //
28


     UNOPPOSED ORDER - 1
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 1             3.   All other conditions shall remain in full force and
 2             effect.

 3             DATED January 27, 2012.
 4
 5                                    s/ CYNTHIA IMBROGNO
                                UNITED STATES MAGISTRATE JUDGE
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     UNOPPOSED ORDER - 2
